                Case 17-40178                 Doc 21        Filed 11/30/17 Entered 11/30/17 10:39:16                                     Desc Main
                                                              Document     Page 1 of 3
Fill in this information to identify the case:

Debtor 1       Richard Wayne Bryan

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the      Middle                            District of   Georgia
                                                                                            (State)

Case number           17-40178




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                               12/16
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you
assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

                             Seterus Inc., As Servicer for Federal National
Name of Creditor:            Mortgage Association                                               Court claim No. (if known):   16

Last 4 digits of any number you
use to identify the debtor’s account:        6984

Does this notice supplement a prior notice of postpetition fees,
expenses, and charges?
☒    No

☐    Yes. Date of the last notice:

Part 1:     Itemize Postpetition Fees, Expenses, and Charges
Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
approved an amount, indicate that approval in parentheses after the date the amount was incurred.
Description                                                                        Dates Incurred                                            Amount
 1.Late Charges                                                                                                                    (1)   $

 2.Non-sufficient funds (NSF) fees                                                                                                 (2)   $

 3.Attorney Fees                                                                                                                   (3)   $

 4.Filing fees and court costs                                                                                                     (4)   $

 5.Bankruptcy/Proof of claim fees                                                  11/10/2017                                      (5)   $   500.00

 6.Appraisal/Broker’s price opinion fees                                                                                           (6)   $

 7.Property inspection fees                                                                                                        (7)   $

 8.Tax advances (non-escrow)                                                                                                       (8)   $

 9.Insurance advances (non-escrow)                                                                                                 (9)   $

10.Property preservation expenses. Specify:                                                                                        (10) $

11.Other. Specify:          Plan review                                            06/15/2017                                      (11) $    150.00

12.Other. Specify:          Preparation/analysis of 410A form                      11/10/2017                                      (12) $    250.00

13.Other. Specify:          Preparation of Fee Notice                              11/27/2017                                      (13) $    150.00

14.Other. Specify:                                                                                                                 (14) $

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.



Official Form 410S2                       Notice of Postpetition Mortgage Fees, Expenses, and Charges                                            page 1
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                                                        Document     Page 2 of 3
Debtor 1         Richard Wayne Bryan                                           Case Number (if known)    17-40178
                 First Name            Middle Name     Last Name




Part 4:
                  Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
number.

Check the appropriate box.
     ☐ I am the creditor.
     ☒ I am the creditor’s authorized agent.
I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.
 X         /s/ Wanda D. Murray                                                          Date    November 27, 2017
           Signature


Print:            Wanda D. Murray                                                      Title:   Agent for Creditor
                  First Name            Middle Name     Last Name

Company:          Aldridge Pite, LLP

Address:          3575 Piedmont Road, N.E. Suite 500
                  Number                Street

                  Atlanta               GA                          30305
                  City                  State                       Zip Code

Contact phone     (404)-994-7400                                                       Email    wmurray@aldridgepite.com




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                            UNITED STATES BANKRUPTCY COURT
                      MIDDLE DISTRICT OF GEORGIA - COLUMBUS DIVISION

 IN RE:                                                ) Case No. 17-40178
                                                       )
 RICHARD WAYNE BRYAN,                                  ) Chapter 13
                                                       )
                 Debtor.                               )
                                                       )

                                       CERTIFICATE OF SERVICE

    I, the undersigned, hereby certify under penalty of perjury that I am, and at all times hereinafter

mentioned, was more than 18 years of age, and that on November 30, 2017, I served a copy of the Notice of

Postpetition Mortgage Fees, Expenses and Charges which was filed in this bankruptcy matter on November

30, 2017, in the manner indicated:

The following parties have been served by the Court by the virtue of their participation in the CM/ECF
system:

Marie Taylor Pardue

Kristin Hurst

The following parties have been served via U.S. First Class Mail:

Richard Wayne Bryan
5708 Ventura Dr
Columbus, GA 31909-4668


I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND

CORRECT.

Dated: November 30, 2017                        Signature: /s/Melissa Gonzalez
                                                Printed Name: MELISSA GONZALEZ
                                                Address: Aldridge Pite, LLP
                                                             Fifteen Piedmont Center
                                                             3575 Piedmont Road, N.E.,
                                                             Suite 500, Atlanta, GA 30305
                                                Phone:       (404) 994-7400
                                                Fax:         (888) 873-6147




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